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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :       CASE NO. 22-cr-070 (RDM)
                v.                              :
                                                :
LUCAS DENNEY,                                   :
                                                :
                        Defendant.              :


     RESPONSE TO MINUTE ORDER REGARDING VIDEO EXHIBIT RELEASE

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby responds to the Court’s October 13, 2022 Minute Order, directing

the parties to respond to petitioners’ request to access video exhibits submitted to the Court in the

above-captioned case. Petitioners represent 16 news organizations, which have moved this Court

to disclose video evidence used in the pretrial detention hearing for the defendant in this case,

pursuant to the procedure outlined by this Court in Standing Order 21-28 (BAH) in In re Press

Coalition’s Motion for Access to Video Exhibits and to Set Aside Standing Order No. 21-28. The

government is in agreement that the videos submitted to this Court can be released in accordance

with the procedure outlined by this Court. See Standing Order 21-28 (BAH), at 5-6.

        The D.C. Circuit has consistently employed the six-factor “Hubbard test” 1 when

determining whether the common-law right of access to judicial records requires those records to


1
  The Hubbard test balances the following factors: “(1) the need for public access to the documents
at issue; (2) the extent of previous public access to the documents; (3) the fact that someone has
objected to disclosure, and the identity of that person; (4) the strength of any property and privacy
interests asserted; (5) the possibility of prejudice to those opposing disclosure; and (6) the purposes
for which the documents were introduced during the judicial proceedings.” Leopold v. v. United
States, 964 F.3d 1121, 1131 (D.C. Cir. 2020) (quoting MetLife, Inc. v. Fin. Stability Oversight
Council, 865 F.3d 661, 665 (D.C. Cir. 2017)).

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be made available to the public for copying and inspection. Applied in the general context of video

exhibits admitted into evidence in court hearings involving defendants charged with criminal

offenses related to the January 6, 2021 breach of the U.S. Capitol, and absent order of the court,

that test generally weighs in favor of allowing public access to these exhibits.

       The petitioners’ filing seeks video exhibits submitted in connection with the Government’s

sentencing memorandum and played at the sentencing hearing held in this matter in the District of

Columbia on September 28, 2022. See Petitioners’ Memorandum of Points and Authorities in

Support of Motion (ECF No. 73), at 2. The government submitted 16 2 videos to this Court at the

hearing. Neither party sought a sealing order for the videos upon their submission.




2
  Petitioners appear to only request the 15 videos referenced in the Government’s initial
sentencing memorandum (ECF No. 46). ECF No. 73 at ¶ 5. The Government submitted an
additional video in connection with its supplemental sentencing submission (ECF No. 67). The
Government’s position is the same with respect to all of the video exhibits.

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       Therefore, because the videos were used in determining the sentence imposed by this

Court, and they were not subject to a sealing order, the government does not object to their

disclosure, including their release for recording, copying, downloading, retransmitting or further

broadcasting.

                                             Respectfully submitted,

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                                             United States Attorney
                                             D.C. Bar No. 482052


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